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                                 STATEMENT OF FACTS

        1.      Your affiant, Jonathan Lund is a Special Agent of the Federal Bureau of
Investigation (“FBI”) in the Manassas, Virginia, office, in the Cyber Crime Section. Since 2009,
I have been involved in interviewing and debriefing witnesses and informants; conducting
physical surveillance; tracing and analyzing internet protocol addresses; tracing and analyzing
financial transactions; analyzing telephone pen registers; collecting and analyzing evidence; and
preparing and executing search warrants. I have received organizational sponsored computer
training as well as computer training at the SANS institute. I have also received training in the
area of computer security and network administration. As a Special Agent, I am authorized by
law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

                     Background – The U.S. Capitol on January 6, 2021

       2.     The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

        3.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.     As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to
keep the crowd away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

   6.    At such time, the certification proceedings were still underway and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

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Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
pm after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

       8.      During national news coverage of the aforementioned events, video footage
which appeared to be captured on mobile devices of persons present on the scene depicted
evidence of violations of local and federal law, including scores of individuals inside the U.S.
Capitol building without authority to be there.

                                  RILEY JUNE WILLIAMS

        9.     In the days following the January 6, 2021, events, a witness (“W1”) made several
phone calls into the FBI’s telephone tip line related to the U.S. Capitol attacks. I have reviewed
documentation of several of those calls. In them, the caller stated that he/she was the former
romantic partner of RILEY JUNE WILLIAMS (“WILLIAMS”), that he/she saw WILLIAMS
depicted in video footage taken on January 6, 2021, from inside the U.S. Capitol Building. W1
stated that WILLIAMS can be seen directing crowds inside the U.S. Capitol Building up a
staircase. The caller specified the uniform resource locator (“url”) for a YouTube video that
he/she was describing as url: https://youtube.com/watch?v=jJiSmVktty4&feature=youtu.be.
W1 also claimed to have spoken to friends of WILLIAMS, who showed W1 a video of
WILLIAMS taking a laptop computer or hard drive from Speaker Pelosi’s office. W1 stated that
WILLIAMS intended to send the computer device to a friend in Russia, who then planned to sell
the device to SVR, Russia’s foreign intelligence service. According to W1, the transfer of the
computer device to Russia fell through for unknown reasons and WILLIAMS still has the
computer device or destroyed it. This matter remains under investigation.

        10.     I have reviewed a publicly available video that was posted on YouTube located
at the url https://youtube.com/watch?v=jJiSmVktty4&feature=youtu.be. It is a 32-minute long
video, with audio, and consists of a video report called “Storming the Capitol: The Inside Story,”
from ITV News, a British television network. I believe that this video report was both posted
on YouTube and published in other media formats. At or about 20 minutes and 40 seconds into
the video, there appears at the bottom of a staircase the subject, believed to be WILLIAMS, a
Caucasian female wearing a green t-shirt and brown trench coat and carrying a black-and-white

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striped zebra-print bag over her shoulders. She has brown shoulder length hair and wears
eyeglasses. She is wearing a black face mask below her chin, around her neck. She can be heard
in the video repeatedly yelling, “Upstairs, upstairs, upstairs,” and can be seen physically
directing other intruders to proceed up a staircase. The video also shows a stream of intruders
walking up a nearby staircase. Two sample screenshots of that YouTube video appear below.




        11.      I have confirmed with U.S. Capitol Police that the staircase depicted in the video
does, in fact, lead to Speaker Pelosi’s office. I have also reviewed maps of the interior areas of
the U.S. Capitol and confirmed the subject appears to have been in an area near “the crypt,”
sometimes referred to as the “Small House Rotunda.” In the audio of the ITV News video, the
reporter states that the recording took place near the U.S. Capitol Building area called “the
crypt.” In the background of the top screenshot above, a bust of Winston Churchill is visible
behind the subject, which is also consistent with the location in the “Small House Rotunda.” The
maps confirm that there is a nearby staircase, which leads to the office of the Speaker of the
United States House of Representatives, Nancy Pelosi.

        12.     I have reviewed other images the FBI obtained that were taken during the January
6, 2021, civil unrest inside the U.S. Capitol Building. Set forth below is a photograph that also
depicts the WILLIAMS inside the U.S. Capitol Building, pointing and directing intruders. She
is wearing the same green t-shirt and brown trench coat. I believe that the photograph below
was taken in Statuary Hall, inside the U.S. Capitol Building.



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       13.     I have also reviewed other videos obtained by the FBI that were taken outside the
U.S. Capitol on January 6, 2021. WILLIAMS can be seen in one or more of these videos entering
the U.S. Capitol. She is wearing the same green t-shirt, brown trench coat, and black-and-white
shoulder bag. A screenshot of one of the videos is set forth below.




        14.     I have identified the WILLIAMS in these screenshots based on a variety of
methods. As noted above, W1 called the FBI tip line and confirmed that WILLIAMS is depicted
in the video described above. I have also reviewed the Pennsylvania driver’s license photograph
for WILLIAMS, set forth below, and compared it to the photographs and videos described above.
I believe they depict the same person.

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        15.     In addition, I have spoken with local law enforcement agents in Harrisburg about
their recent interactions with WILLIAMS’ parents. According to those officers, on January 11,
2021, local law enforcement received a suspicious persons report filed by WILLIAMS’ mother.
Officers arrived at the address that WILLIAMS shares with her mother and interviewed her
mother. WILLIAMS was not present. According to WILLIAMS’ mother, the suspicious person
was assumed to be W1. WILLIAMS’ mother, with officers present, used her cell phone to place
a video-enabled phone call to WILLIAMS. Officers observed WILLIAMS on her mother’s cell
phone screen and noted that WILLIAMS was wearing a brown-colored jacket, consistent with
the screenshots above.

       16.    According to the Harrisburg officers, on January 16, 2021, they again spoke with
WILLIAMS’ mother who told them that a British media crew had come to her home the night
before, asking to speak with WILLIAMS, who was not present. The news crew presented
WILLIAMS’ mother with one or more images taken at the U.S. Capitol on January 6, 2021. Her
mother acknowledged that it was WILLIAMS in the image.

        17.     According to the Harrisburg officers, on or about January 16, 2021, officers called
WILLIAMS’ father who resides in Camp Hill, PA. He stated that he drove to Washington, D.C.,
with WILLIAMS for the protests on January 6, 2021. He stated that his daughter and he did not
stay together throughout the day and that WILLIAMS was meeting up with other individuals she
knew at the protests. WILLIAMS later met up with her father outside of the U.S. Capitol
Building, and they returned home to Harrisburg together.


        18.     On or about January 16, 2021, ITV posted a second related video to YouTube,
titled “Revealed: ITV News identifies protester who stormed the Capitol,” found at
https://www.youtube.com/watch?v=cfzJs4MfTe0. In this 2 ½ minute video, the reporter
identifies “Riley Williams” as the person depicted in snippets of the prior ITV video described
above. The reporter then interviewed a woman who identified herself as WILLIAMS’ mother
and showed her some type of video footage. WILLIAMS’ mother then stated that she recognized
her daughter inside the U.S. Capitol Building and that her daughter had taken a sudden interest
in President Trump’s politics and “far right message boards.” She claimed that WILLIAMS


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“took off,” “is gone,” and is waiting for law enforcement to come to WILLIAMS and ask her
about her activities in the Capitol .

        19.    It appears that WILLIAMS has fled. According to local law enforcement officers
in Harrisburg, WILLIAMS’ mother stated that that WILLIAMS packed a bag and left her home
and told her mother she would be gone for a couple of weeks. WILLIAMS did not provide her
mother any information about her intended destination. Sometime after January 6, 2021,
WILLIAMS changed her telephone number and deleted what I believe were her social media
accounts on Facebook, Instagram, Twitter, Reddit, Telegram, and Parler.

         20.    Based on the foregoing, your affiant submits that there is probable cause to
believe that RILEY JUNE WILLIAMS violated 18 U.S.C. § 1752(a)(1) and (2), which makes
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        21.    Your affiant submits that there is also probable cause to believe that RILEY
JUNE WILLIAMS violated 40 U.S.C. § 5104(e)(2)(D) and 5104(e)(2)(G) which make it a crime
to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or
either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress . . . and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.



                                            _________________________________
                                            Jonathan Lund
                                            Special Agent
                                            Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of January 2021.
                                             Robin M.         Digitally signed by Robin
                                                              M. Meriweather

                                             Meriweather Date:      2021.01.17 13:08:04
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                                            U.S. MAGISTRATE JUDGE

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